Case 5:02-cr-00070-FPS-JES Document 347 Filed 07/18/05 Page 1 of 2 PageID #: 1465



                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                        Criminal Action No. 5:02CR70-09
                                                                    (STAMP)
  KATHY COURTRIGHT,

                Defendant.


       ORDER DENYING DEFENDANT’S MOTION PURSUANT TO § 3582(c)(2)

        On July 15, 2005, defendant, Kathy Courtright, filed a motion

  to   reduce    her    sentence    pursuant   to    18    U.S.C.   §   3582(c)(2).

  Specifically,        the   defendant   argues     that   the   Supreme   Court’s

  decision in United States v. Booker, 235 S. Ct. 738 (2005), which

  excised § 3553(b)(1), requires this Court to reduce defendant’s

  sentence.     Section 3582(c)(2) states, in pertinent part:

        In the case of a defendant who has been sentenced to a
        term of imprisonment based on a sentencing range that has
        subsequently been lowered by the Sentencing Commission
        pursuant to 28 U.S.C. § 994(o), upon motion of the
        defendant or the Director of the Bureau of Prisons, or on
        its own motion, the court may reduce the term of
        imprisonment, after considering the factors set forth in
        § 3553(a) to the extent that they are applicable, if such
        a reduction is consistent with the applicable policy
        statement issued by the Sentencing Commission.

  Id. (emphasis added).            In light of the plain language of the

  statute, the defendant’s argument is without merit.               The defendant

  has not been sentenced to a term of imprisonment based on a

  sentencing range that has subsequently lowered by the Sentencing

  Commission.     Moreover, the defendant’s sentence is consistent with
Case 5:02-cr-00070-FPS-JES Document 347 Filed 07/18/05 Page 2 of 2 PageID #: 1466



  the factors set forth in § 3553(a) for the imposition of a

  sentence.    Accordingly, the defendant’s motion is hereby DENIED.

        IT IS SO ORDERED.

        The Clerk is directed to transmit a copy of this order to the

  defendant and to counsel of record herein.

        DATED:     July 18, 2005



                                     /s/ Frederick P. Stamp, Jr.
                                     FREDERICK P. STAMP, JR.
                                     UNITED STATES DISTRICT JUDGE




                                       2
